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 10   A. DeMesa, G. Savala, R. Davis, J. Reyes, G.
      Hernandez, A. Hernandez, R. Lopez, S. Rink,
 11   J. Morales, J. Brown, L. Brown, R. LaCosta,
      A. Sanchez, N. Scharr, G. Stratton, D.
 12   Arguillez, A. Buenrostro, R. Davis, J.
      Rodriguez, L. Romero, C. Meza, L. Godinez,
 13   R. Lemon, C. Hernandez, and K. Thaxton
 14
 15                    IN THE UNITED STATES DISTRICT COURT
 16                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 17
 18
      SELVIN O. CARRANZA,                          3:14-cv-00773-GPC-AGS
 19
                                     Plaintiff, DEFENDANTS’ PRETRIAL
 20                                             DISCLOSURES
                  v.
 21
                                                   Judge: The Honorable Andrew G.
 22   EDMUND G. BROWN Jr., et al.,                        Schopler
                                              Trial Date: None Set
 23                               Defendants. Case Filed: 11/10/2016
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                                          Defs.’ Pretrial Disclosures (3:14-cv-00773-GPC-AGS)
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  1                   DEFENDANTS’ PRETRIAL DISCLOSURES
  2   I.   DEFENDANTS’ WITNESSES
  3        A.   Witnesses the Defense Expects to Call at Trial
  4        1.   L. Vanderweide, c/o Deputy Attorney General John Walters, 600 West
  5   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
  6        2.   L. Tillman, c/o Deputy Attorney General John Walters, 600 West
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  8        3.   J. Gomez, c/o Deputy Attorney General John Walters, 600 West
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 14        6.   W. Suglich, c/o Deputy Attorney General John Walters, 600 West
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 16        7.   E. Ojeda, c/o Deputy Attorney General John Walters, 600 West
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 18        8.   A. Silva, c/o Deputy Attorney General John Walters, 600 West
 19   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 20        9.   E. Garcia, c/o Deputy Attorney General John Walters, 600 West
 21   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 22        10. Q. Jackson, c/o Deputy Attorney General John Walters, 600 West
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 24        11. E. Pimentel, c/o Deputy Attorney General John Walters, 600 West
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 26        12. A. DeMesa, c/o Deputy Attorney General John Walters, 600 West
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 28
                                             2
                                        Defs.’ Pretrial Disclosures (3:14-cv-00773-GPC-AGS)
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  1       13. G. Savala, c/o Deputy Attorney General John Walters, 600 West
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  3       14. R. Davis, c/o Deputy Attorney General John Walters, 600 West
  4   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
  5       15. J. Reyes, c/o Deputy Attorney General John Walters, 600 West
  6   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
  7       16. G. Hernandez, c/o Deputy Attorney General John Walters, 600 West
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  9       17. A. Hernandez, c/o Deputy Attorney General John Walters, 600 West
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 11       18. R. Lopez, c/o Deputy Attorney General John Walters, 600 West
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 13       19. S. Rink, c/o Deputy Attorney General John Walters, 600 West Broadway,
 14   Suite 1800, San Diego, CA 92101 (619) 738-9537.
 15       20. J. Morales, c/o Deputy Attorney General John Walters, 600 West
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 17       21. J. Brown, c/o Deputy Attorney General John Walters, 600 West
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 19       22. L. Brown, c/o Deputy Attorney General John Walters, 600 West
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 21       23. R. LaCosta, c/o Deputy Attorney General John Walters, 600 West
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 23       24. A. Sanchez, c/o Deputy Attorney General John Walters, 600 West
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 25       25. N. Scharr, c/o Deputy Attorney General John Walters, 600 West
 26   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 27       26. G. Stratton, c/o Deputy Attorney General John Walters, 600 West
 28   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
                                            3
                                       Defs.’ Pretrial Disclosures (3:14-cv-00773-GPC-AGS)
Case 3:14-cv-00773-JO-AGS Document 244 Filed 10/05/20 PageID.1591 Page 4 of 7



  1       27. D. Arguillez, c/o Deputy Attorney General John Walters, 600 West
  2   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
  3       28. A. Buenrostro, c/o Deputy Attorney General John Walters, 600 West
  4   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
  5       29. R. Davis, c/o Deputy Attorney General John Walters, 600 West
  6   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
  7       30. J. Rodriguez, c/o Deputy Attorney General John Walters, 600 West
  8   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
  9       31. L. Romero, c/o Deputy Attorney General John Walters, 600 West
 10   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 11       32. C. Meza, c/o Deputy Attorney General John Walters, 600 West
 12   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 13       33. L. Godinez, c/o Deputy Attorney General John Walters, 600 West
 14   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 15       34. R. Lemon, c/o Deputy Attorney General John Walters, 600 West
 16   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 17       35. C. Hernandez, c/o Deputy Attorney General John Walters, 600 West
 18   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 19       36. K. Thaxton, c/o Deputy Attorney General John Walters, 600 West
 20   Broadway, Suite 1800, San Diego, CA 92101 (619) 738-9537.
 21       37. Dr. Yoshinori Sato, Richard J. Donovan Correctional Facility, 480 Alta
 22   Road, San Diego, CA 92179, (619) 661-6500.
 23       B.   Witnesses the Defense May Call at Trial
 24       38. Associate Warden Scott Anderson, 480 Alta Road, San Diego, CA
 25   92179, (619) 661-6500.
 26       39. Patricia Cruz-White, 480 Alta Road, San Diego, CA 92179, (619) 661-
 27   6500.
 28       40. Chris Davis, 480 Alta Road, San Diego, CA 92179, (619) 661-6500.
                                             4
                                        Defs.’ Pretrial Disclosures (3:14-cv-00773-GPC-AGS)
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  1         41. Litigation Coordinator, Richard J. Donovan Correctional Facility, 480
  2   Alta Road, San Diego, CA 92179, (619) 661-6500.
  3         42. Custodian of Records, Richard J. Donovan Correctional Facility, 480
  4   Alta Road, San Diego, CA 92179, (619) 661-6500.
  5         43. R. McKnight, Psy. D., Richard J. Donovan Correctional Facility, 480
  6   Alta Road, San Diego, CA 92179, (619) 661-6500.
  7         44. Plaintiff’s Current CDCR Primary Care Physician, located at Plaintiff’s
  8   current prison at time of trial.
  9         C.   Witnesses Whose Testimony Will be Taken by Deposition
 10         None.
 11   II.   DEFENDANTS’ EXHIBITS
 12         A.   Exhibits the Defense Expects to Offer at Trial
 13         1.   Plaintiff’s CDCR 7219 forms for incidents in 2012 and 2013.
 14         2.   CDCR Crime/Incident Report package for June 22, 2012 incident.
 15         3.   CDCR Crime/Incident Report package for August 15, 2012 incident.
 16         4.   CDCR Crime/Incident Report package for November 24, 2012 incident.
 17         5.   CDCR Crime/Incident Report package for April 18, 2013 incident.
 18         6.   Incident video for June 22, 2012.
 19         7.   Incident video for April 18, 2013.
 20         8.   Plaintiff’s CDCR 812 forms for 2012 and 2013.
 21         9.   Plaintiff’s Institutional Classification Committee records for 2012 and
 22   2013.
 23         10. Plaintiff’s CDCR 128 chronos and memos for 2012 and 2013.
 24         11. Plaintiff’s CDCR 602 forms related to incidents from 2012 and 2013.
 25         12. Plaintiff’s Rules Violation Reports related to incidents from 2012 and
 26   2013.
 27         13. Demonstrative scene photos of Richard J. Donovan Correctional Facility
 28   Administrative Segregation Unit B6.
                                                5
                                           Defs.’ Pretrial Disclosures (3:14-cv-00773-GPC-AGS)
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  1       14.   Demonstrative scene photos of Richard J. Donovan Correctional Facility
  2   Administrative Segregation Unit B7.
  3       15. Plaintiff’s Relevant Medical Records related to incidents and injuries
  4   from 2012 and 2013.
  5       16. Plaintiff’s Relevant Mental Health Records related to incidents from
  6   2012 and 2013.
  7       B.    Exhibits the Defense May Offer at Trial
  8       17. 2012 Clinical Records from R. McKnight, Psy. D.
  9
 10   Dated: October 5, 2020                      Respectfully submitted,
 11                                               XAVIER BECERRA
                                                  Attorney General of California
 12                                               MICHELLE DES JARDINS
                                                  Supervising Deputy Attorney General
 13
                                                  s/ John P. Walters
 14
                                                  JOHN P. WALTERS
 15                                               Deputy Attorney General
                                                  Attorneys for Defendants
 16                                               L. Vanderweide, L. Tillman, J. Gomez,
                                                  I. Marquez, W. Shimko, W. Suglich, E.
 17                                               Ojeda, A. Silva, E. Garcia, Q.
                                                  Jackson, E. Pimentel, A. DeMesa, G.
 18                                               Savala, R. Davis, J. Reyes, G.
                                                  Hernandez, A. Hernandez, R. Lopez, S.
 19                                               Rink, J. Morales, J. Brown, L. Brown,
                                                  R. LaCosta, A. Sanchez, N. Scharr, G.
 20                                               Stratton, D. Arguillez, A. Buenrostro,
                                                  R. Davis, J. Rodriguez, L. Romero, C.
 21                                               Meza, L. Godinez, R. Lemon, C.
                                                  Hernandez, and K. Thaxton
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                                         Defs.’ Pretrial Disclosures (3:14-cv-00773-GPC-AGS)
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                               CERTIFICATE OF SERVICE
 Case Name:     S. Carranza v. E. Brown, Jr., et          No.     3:14-cv-00773-GPC-AGS
                al.

 I hereby certify that on October 5, 2020, I electronically filed the following documents with the
 Clerk of the Court by using the CM/ECF system:

                         DEFENDANTS’ PRETRIAL DISCLOSURES

 I certify that all participants in the case are registered CM/ECF users and that service will be
 accomplished by the CM/ECF system.
 I declare under penalty of perjury under the laws of the State of California the foregoing is true
 and correct and that this declaration was executed on October 5, 2020, at San Diego, California.


                C. Endozo
                Declarant                                            Signature
